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CIVIL, DOCKET CONTINUATION SHEET
DEFENDANT

PLAINTIFF
S IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION
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/ pocket No, MDL 840
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DATE | NR. PROCEEDINGS

May 10 7188 PROOF of Claim Form For Torture Victims by Cecilia Zarsuela
7189. PROOF of Claim Form For Torture Victims by Mariano Olayres, Sr., Deceased by

Teresita Olayres y Belarmino
| 7190: PROOF of Claim Form For Torture Victims by Jose A. Grita, Deceased by Rogelio A.
Grita

7191) PROOF of Claim Form For Torture Victims by Elias Gache
| 7192! PROOF of Claim Form For Torture Victims by Juan B. Greta
71935 PROOF of Claim Form For Torture Victims by Elias A. Dino

7194 PROOF of Claim Form For Torture Victims by Rogelio F. Fremista
7195 | PROOF of Claim Form For Torture Victims by Paciente Gabionza
7196) PROOF of Claim Form For Torture Victims by Nelson B. Hajas
7197 PROOF of Claim Form For Torture Victims by Manuel Gacelo (Arcelo)
7198) PROOF of Claim Form Fer Torture Victims by Rosalinda T. Mias
7199 PROOF of Claim Form For Torture Victims by Ruben T. Calle
7200 PROOF of Claim Form For Torture Victims by Francisco Hatol
7201 PROOF of Claim Form For Torture Victims by Filemon Abenes, Deceased by Aurea C.
Abenes for Filemon Abenes
7202 PROOF of Claim Form For Torture Victims by Aurea C. Abenes
7203) PROOF of Claim Form For Torture Victims by Norman T. Bocar
® 7204 | PROOF of Claim Form For Torture Victims by Epefania Catuday

7205 | PROOF of Claim Form For Torture Victims by Gloria C. Mallillin

7206 PROOF of Claim Form For Torture Victims by Sofronio A. Borromeo, Deceased by

Celia J. Borromeo

7207) PROOF of Claim Form For Torture Victims by Domingo Fresnipo

7208; PROOF of Claim Form For Torture Victims by Adolfo Frades

7209) PROOF of Claim Form For Torture Victims by Jaime Fesnido

7210} PROOF of Claim Form For Torture Victims by Lutgarda Garrote

7211] PROOF of Claim Form For Torture Victims by Ginson Marquez

7212; PROOF of Claim Form For Torture Victims by Salvador Frades

7213 | PROOF of Claim Form For Torture Victims by Benjamen Galarosa

7214 | PROOF of Claim Form For Torture Victims by Francisco G. Fuga, Sr.
7215 [| PROOF of Claim Form For Torture Victims by Amador P. Bailon, Sr.

6 7216) PROOF of Claim Form For Torture Victims by Fortunato Hebres

7217 | PROOF of Claim Form For Torture Victims by Eric G. Labagala

7218, PROOF of Claim Form For Torture Victims by Belinda V. Fidelis

7219 PROOF of Claim Form For Torture Victims by Oscar Hebres

7220] PROOF of Claim Form For Torture Victims by Rodrigo Forteo

7221; PROOF of Claim Form For Torture Victims by Simplicio Margelino

7222) PROOF of Claim Form For Torture Victims by Rogelio Grita

7223 | PROOF of Claim Form For Torture Victims by Zosimo Casaya

7224; PROOF of Claim Form For Torture Victims by Silvestre D. Fuedan

7225 PROOF of Claim Form For Torture Victims by Gabriel Fugen

7226 | PROOF of Claim Form For Torture Victims by Levy Fuga, Sr.

7227) PROOF of Claim Form For Torture Victims by Josefa C. Gabitan

7228 PROOF of Claim Form For Torture Victims by Faustino E. Firmanes

7229) PROOF of Claim Form For Torture Victims by Mercurio G. Fortes

7230 | PROOF of Claim Form For Torture Victims by Francisco Fuedan

7231! PROOF of Claim Form For Torture Victims by Norberto Fresca, Deceased by Nelly

Fresca

7232 | PROOF of Claim Form For Torture Victims by Romeo Mira

7233) PROOF of Claim Form For Torture Victims by Jose T. Fulgar, Deceased by Caridad

Fulgar

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
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May 10 7234 PROOF of Claim Form For Torture Victims by Crispin Gacos, Deceased by Ligaye F.
Gacos

| 7235 | PROOF of Claim Form For Torture Victims by Meliton Furio

: 7236 PROOF of Claim Form For Torture Victims by Luz Fresnido
7237 | PROOF of Claim Form For Torture Victims by Carmen Fresnida

_ 7238 | PROOF of Claim Form For Torture Victims by Leonora Fermanes

. 7239 | PROOF of Claim Form For Torture Victims by Esperidion Fuga, Deceased by Thelma <q

: Vda. De Fuga

7240 PROOF of Claim Form For Torture Victims by Luz Vilma Riopay, Deceased by Gibson
: T. Riopay

7241 | PROOF of Claim Form For Torture Victims by Eleno 6. Frago
' 7242 ' PROOF of Claim Form For Torture Victims by Amado Fereras

7243 PROOF of Claim Form For Torture Victims by Emelio Gacos, Deceased by Diosdado

Gacos

: 7244 . PROOF of Claim Form For Torture Victims by Felimon Fortes

7245 PROOF of Claim Form For Torture Victims by Laurencia Hiligaco, Deceased by Samuel
Hiligao, Jr.
7246 | PROOF of Claim Form For Disappearance Victims by Benjamen Hamor by Sallacion
F Hamor
(7247 | PROOF of Claim Form For Disappearance Victims by Felicitas Canelas
7248 PROOF of Claim Form For Disappearance Victims by Ignacio Guban by Teodora Sus
| 7249 | PROOF of Claim Form For Disappearance Victims by Fernando Canelas
7250 |) PROOF of Claim Form For Disappearance Victims by Ranilo P. Baulos by Luzviminda
CG. Baulos
7251 | PROOF of Claim Form For Disappearance Victims by Johannes B. Barrozo by Moira 3.
Manarang
7252 PROOF of Claim Form For Disappearance Victims by Nasarir #. Fontilin by Lutgarda
G. Fontilar
7253 PROOF of Claim Form For Disappearance Victims by Celestino T. Campo by Juana BD.
Campo
7254 | PROOF of Claim Form For Disappearance Victims by Felix Tongeo, Concordia Tongco
and Arnold Rodulfo Tongco by Allan Tongco
'7255 | PROOF of Claim Form For Disappearance Victims by Bonifacie C. Soriano by Mary
Marilyn M. Soriano
7256 ) PROOF of Claim Form For Disappearance Victims by Ebolwang Yag-ao by Marcos Yag-ao
7257 | PROOF of Claim Form For Disappearance Victims by Catherine Atumpa by Miguel P.
| Atumpa
7258 PROOF of Claim Form For Disappearance Victims by Dawadao Dalunag by Rafael Dalunag
7259 | PROOF of Claim Form For Disappearance Victims by Guiamaludin Mantawil by Tima
Mantawil
7260 | PROOF of Claim Form For Summary Execution Victims by Dagumanding Guialal by
Dulawan A. Buna
7261 | PROOF of Claim Form For Summary Execution Victims by Datu Ido B. Guialal by
Dulawan A. Buna
7262 | PROOF of Claim Form For Summary Execution Victims by Datumanong B. Guialal by
Dulawan A. Buna
7263 | PROOF of Claim Form For Summary Execution Victims by Vietorio Frute, Sr. by
Victorio Fruto, Jr.
7264 | PROOF of Claim Form For Summary Execution Victims by Jose Espela
7265 | PROOF of Claim Form For Summary Execution Victims by Akil Enggel by Zacaria Enggel
7266 | PROOF of Claim Porm For Summary Execution Victims by Wenifredo Gibaga by Rancho
Gibaga

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF . DEFENDANT
_ pocKET No MDL 840 _
IN RE: ESTATE OF FERDINAND E. MARCOS (HUMAN RIGHTS LITIGATION :
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|
DATE NR PROCEEDINGS
1999 —

May 10 | 7267 PROOF of Claim Form For Summary Execution Victims by
Fatima Q. Gaitan

7268) PROOF of Claim Form Por Summary Execution Victims by

Josepina N. Papeca

7269) PROGF of Claim Form For Summary Execution Victims by

Petra Mabulac Mabini

7270: PROOF of Claim Form For Summary Execution Victims by

Clodualdo Mabansag

7271) PROOF of Claim Form For Summary Execution Victims by

D. Gabiana

7272 PROOF of Claim Form For Summary Execution Victims by

G. Forneloza

7273 PROOF of Claim Form For Summary Execution Victims by

Basilio L. Custodio

7274 PROOF of Claim Form For Summary Execution Victims by

L. Mapa
7275. PROOF of Claim Form Fer Summary Execution Victims by
L. Mapa
7276; PROOF of Claim Form For Summary Execution Victims by
Te jones

| 7277) PROOF of Claim Form For Summary Execution Victims by
7278) PROOF of Claim Form For Summary Execution Victims by
Simulaba

7279 PROOF of Claim Form For Summary Execution Victims by
L. Talip and Anastacio L. Talip

7280; PROOF of Claim Form For Summary Execution Victims by
Genampong L. Talip and Anastacio L. Talip

7281| PROOF of Claim Form For Summary Execution Victims by
Estelita Agustin

7282 | PROOF of Claim Form For Summary Execution Victims by
Lorenzo

@ 7283) PROOF of Claim Form For Summary Execution Victims by

Madre Nalupano

7284 PROOF of Claim Form For Summary Execution Victims by
Gomez

7285 | PROOF of Claim Form For Summary Execution Victims by
Flores

7286 | PROOF of Claim Form For Summary Execution Victims by
De Guzman

7287; PROOF of Claim Form For Summary Execution Victims by
Torido

7288 PROOF of Claim Form For Summary Execution Victims by
Madre T. Nalupan

7289 | PROOF of Claim Form For Summary Execution Victims by
Presentacion Talaman

7290; PROOF of Claim Form For Summary Execution Victims by
Dubria

7291) PROOF of Claim Form For Summary Execution Victims by
7292| PROOF of Claim Form For Summary Execution Victims by
7293) PROOF of Claim Form For Summary Execution Victims by

Talondata

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Hipolito O. Quimsing by
Ivagani M. Papeca by
Martin Dacer Mabulae by
Primitiva Mabansag by
Jianeto D. Gablin by Vicletz
Roque &. Gacias by Leonila
Alfredo §. Custodio by

Emma R. Mapa by Flaviano
Hernando R. Mapa by Flaviane
Cesar Tejones by Lucrecia

Manuel Tan by Jesus Tan
Elgene Simulaba by Corazon

Amelito L. Talip by Cenampor:

Alejandro A. Talip by
Rodrigo Udani Agustin by
Treneo Lorenzo by Angeles
Ignacio Nalupano by Maria
Roger Gomez by Epifania
Francisco Flores by Tita
Cezar De Guzman by Julia L.
Edgar Torido by Ronelie
Fermin Nalupano by Maria
Vercesimo Calibayan by
Marcos Dubria by Felodina
Luvemin Leones

Rowan B. Din
Simeon Talondata by Comba

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IN RE: ESTATE OF FERDINAND E. MARCOS) HUMAN RIGHTS LITIGATION :
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DATE NAR PROCEEDINGS
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May 10 © 7294 i PROOF of Claim Form For Summary Execution Victims by Edita R. Mapa by Flaviano
L. Mapa
7295 PROOF of Claim Form For Summary Execution Victims by Igmedio R. Mapa by Flaviano
L. Mapa

7296 PROOF of Claim Form For Summary Execution Victims by Orlando Velasco, Sr. by
Nonita Velasco
7297 PROOF of Claim Form For Summary Execution Victims by Saturtine Opalalic by
Felicisima Opalalic

7298 | PROOF of Claim Form For Summary Execution Victims by Julio Iwayan

7299 PROOF of Claim Form For Summary Execution Victims by Nelson Cabahug
_ 7300 PROOF of Claim Form For Summary Execution Victims by Lucia Rabanes by Rosita
i Rabanes

7301 PROOF of Claim Form For Summary Execution Victims by Eduardo Latosa

7302 PROOF of Claim Form For Summary Execution Victims by Eliza Zarraga

7303 | PROOF of Claim Form For Summary Execution Victims by Felix Almones
(7304 PROOF of Claim Form For Summary Execution Victims by Rogelio Megallen, Jr. by
Erlinda Megallen

7305 | PROOF of Claim Form For Summary Execution Victims by Alex Labatos by Rene Labatos
7306 PROOF of Claim Form For Summary Execution Vietims by Clemente P, Ragragio by
Criseloa Ragracio-Ojano
7307 PROOF of Claim Form For Summary Execution Victims by Cosme Amores Engoc and Leoni
B. Engoc by Myrlinda E. Enedio
7308 | PROOF of Claim Form For Summary Execution Victims by Pelagio Agustin by Marcos
Agustin
7309 | PROOF of Claim Form For Summary Execution Victims by Blinte L. Talip by Genampong
L. Talip and Anastacio L. Talip
7310 | PROOF of Claim Form For Summary Execution Victims by Olegario Babiano Pomida by
Wenifredo Babiano
7311 | PROOF of Claim Form For Summary Execution Victims by Salvador Seprioto by Roberto

Seprioto

7312 | PROOF of Claim Form For Summary Execution Victims by Aleman U. Anok by Guiamalia
BLliangalen

7313 | PROOF of Claim Form For Summary Execution Victims by Danilo Fullos by Socorro
Fullos

7314 | PROOF of Claim Form For Summary Execution Victims by Wanton Fremista by Filiza
Fremista

7315 ; PROOF of Claim Form For Summary Execution Victims by Stanley L Tamac by Lodia
T. Tamac

7316 | PROOF of Claim Form For Summary Execution Victims by Aurelio A. Tamac by Lodia

T. Tamac
7317 | PROOF of Claim Form For Summary Execution Victims by Alfredo Delos Santos by

Maxima Delos Santos
7318 | PROOF of Claim Form For Summary Execution Victims by Carlos Arnan by Segundina A.

Moniva
7319 | PROOF of Claim Form For Summary Execution Victims by Rosa Fermanes by Leonora

Fermanes
7320 PROOF of Claim Form For Summary Execution Victims by Rosendo D. Campo by Lea

CG. Fuentes

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF BEFENDANT

IN RE: ESTATE OF FERDINAND FE. MARCOS HUMAN REGHTS LITIGATION
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DATE NR. PROCEEDINGS

1999
May 16 7321) PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Tsabelita A. Sombillo
7322; PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Mateo Garrido by Chez McGarry
7323, PROOF of Claim Form For Torture, Summary Execution and Disappearance Victima by
Enrique DB, Palabay by Fern Valdez Palabay
7324, STATEMENT by Sixto Hinagpisan
Se 7325) STATEMENT by Benjamin Villamena

7326) STATEMENT by Ernesto C. Zara
7327) STATEMENT by Wilfredo P. Delcarador
7328! STATEMENT by Sarah Hadji Latip
7329: STATEMENT by Busac Bannar, Arsenia Domingo, Patra Barang, Nieves Domingo,
Foryunata Albano, Chenita Baguing and Bared Dalusian

ll 7330| PROOF of Claim Form For Torture Victims by Jesus Funelas

7331) PROOF of Claim Form For Torture Victims by Romna M. Carias
7332| PROOF of Claim Form For Torture Victims by Estilito Funelas
7333: PROOF of Claim Form For Torture Victims by Francisco M. Luneta
7334) PROOF of Claim Form For Torture Victims by Rosario A. Afable
7335} PROOF of Claim Form For Torture Victims by Rudy E. Funelas
@ 7336; PROOF of Claim Form For Torture Victims by Noel Basiloy

7337) PROOF of Claim Form For Torture Victims by Gemma M. Medel

7338, PROOF of Claim Form For Torture Victims by Jose Ramones Fabros

7339; PROOF of Claim Form For Torture Victims by Aquilina E. Relanes

7340, PROOF of Claim Form For Torture Victims by Raul Deri

7341) PROOF of Claim Form For Torture Victims by Guau Guayda

7342, PROOF of Claim Form For Torture Victims by Flor C. Caagusan

7343) PROOF of Claim Form For Torture Victims by Myrna Adora Poso

7344 PROOF of Claim Form For Torture Victims by Santiago P. Altez, Deceased by Asuncic
P. Altez

7345 | PROOF of Claim Form For Torture Victims by Luncia R. Funelas

7346! PROOF of Claim Form For Torture Victims by Maurico Granada

eo 7347 PROOF of Claim Form For Torture Victims by Gorgonio Baldres, Deceased by Caridad
Baldres

7348 PROOF of Claim Form For Torture Victims by Ernesto Hi je

7349 | PROOF of Claim Form For Torture Victims by Natividad Gapuen

7350 | PROOF of Claim Form For Torture Victims by Bernardo Del Rosario Antonio
7351) PROOF of Claim Form For Torture Victims by Miguel Garofil Brinas

7352 | PROOF of Claim Form For Torture Victims by Juanito L. Labitag, Sr.

7353 | PROOF of Claim Form For Torture Victims by Benigno Balansi

7354 | PRGOF of Claim Form For Torture Victims by Roman Barcena

7355; PROOF of Claim Form For Torture Victims by Alejandro $8. Camillo

7356 PROOF of Claim Form For Torture Victims by Reymundo Casiw

7357 | PROOF of Claim Form For Torture Victims by Antonia Pasigay

7358 | PROOF of Claim Form For Torture Victims by Ediie Funelos

7359) PROOF of Claim Form For Torture Victims by Lizette Angeles

7360) PROOF of Claim Form For Torture Victims by Norberto Haro

7361 | PROOF of Claim Form For Torture Victims by Avelonia Fuonales, Deceased by Nelia
Fuonales Esternon

7362 | PROOF of Claim Form For Torture Victims by Jose A. Dado

7363 | PROOF of Claim Form For Torture Victims by Mauricio Batoon

73604 PROOF of Claim Form For Torture Victims by Osias Valera

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IN RE: ESTATE OF FERDINAND FE. MARCOS | HUMAN RIGHTS LITIGATION :
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1999 ° ; wt
May ll | 7365 . PROOF of Claim Form For Torture Victims by Tilbog Cardinas, Deceased by Cedilena

: Cardinas
- 7366 | PROOF of Claim Form For Torture Victims by Bonifacio J. Yap
7367 PROOF of Claim Form For Torture Victims by Emma Lagrimas Legatub
/ 7368 PROOF of Claim Form For Torture Victims by Lolita Reuyan Curay
| 7369 | PROOF of Claim Form For Torture Victims by Alfredo C. Villanueva
7370 PROOF of Claim Form For Torture Victims by Bonifacio L. Elardo
7371 PROOF of Claim Form For Torture Victims by Bernabe P. Morales, Jr.
. 7372 | PROOF of Claim Form For Torture Victims by Gina G. Mercado
7373 | PROOF of Claim Form For Torture Victims by Recto S, Giray
7374 PROOF of Claim Form For Torture Victims by Gemma N. Mercado
27375 PROOF of Claim Form For Torture Victims by Antonio B. Apilan
7376 | PROOF of Claim Form For Torture Victims by Guillermo N. Permale
7377 ° PROOF of Claim Form For Torture Victims by Ramon A. Caboral
: 7378 © PROOF of Claim Form For Torture Victims by Jose Funelas
7379 | PROOF of Claim Form For Torture Victims by Conchita Animpat
7380 PROOF of Claim Form For Terture Victims by Alberto G. Serrano, Deceased by
: Romy S$. Serrano
/7381 PROOF of Claim Form For Torture Victims by Laureano T. Angeles, M.D.
7382 PROOF of Claim Form For Disappearance Victims by Niro R. Basiloy by Abner R.
: ! Basiloy
: 7383 | PROOF of Claim Form For Disappearance Victims by Samsodin Salik Lumambas by Hadji
Ali Lumambas
7384 | PROOF of Claim Form For Disappearance Victims by Antonio Ugdao by Elsa U. Suminod
/ 7385 | PROOF of Claim Form For Disappearance Victims by Franco M. Lumeta
(7386 PROOF of Claim Form For Disappearance Victims by Melecio Lucib, Jr. by Emelita
i L. Osano
7387 0 PROOF of Claim Form For Disappearance Victims by Ceferino A. Flores, Jr. by
Blancaflor T. Flores
7388 PROOF of Claim Form For Disappearance Victims by Francisco Monggal by Aurelia
Monggal
7389 PROOF of Claim Form For Summary Execution Victims by Redrigo B. Guanizo by Juana
: : C. Guanizo
7390 _ PROOF of Claim Form For Summary Execution Victims by Duton Kadales by Basit
Lumambas
7391 | PROOF of Claim Form For Summary Execution Victims by Saranza A. Masandag by
Armando M. Mamailao
7392 | PROOF of Claim Form For Summary Execution Victims by Palamas Lumambas by Had ji
Ali Lumambas
7393 | PROOF of Claim Form For Summary Execution Victims by Nito Basiloy by Bruno Basiloy
| 7394 | PROOF of Claim Form For Summary Execution Victims by Magdalena L. Gemole
7395 | PROOF of Claim Form For Summary Execution Victims by Gloven Gabrido
7396 PROOF of Claim Form For Summary Execution Victims by Renato Tapil
7397 | PROOF of Claim Form For Summary Execution Victims by Alejandro Bucabal
| 7398 | PROOF of Claim Form For Summary Execution Victims by Virgirita Mabuyao
/7399 | PROOF of Claim Form For Summary Execution Victims by Kiga Pilandok by Hadji Ali
Lumambas
7400 | PROOF of Claim Form For Summary Execution Victims by Pilandok Saidona, Sanpak

Saidona, Aisa Saidona by Ginamad Saidona

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PLAINTIFF DEFENDANT
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION _ ROCKET NO MDL. 880 _.
| PAGEZS2 OF____ PAGES
DATE NR, PROCEEDINGS
1999
May 11 | 7401: PROOF of Claim Form For Summary Execution Victims by Antonio Bareotan by Tito
Barcotan
7402} PROOF of Claim Form For Summary Execution Victims by Keti Lumambas by Hadji Ali
Lumambas -
7403) PROOF of Claim Form For Summary Execution Victims by Beodito Panday by Neda
Panday
7404, PROOF of Claim Form For Summary Execution Victims by Willy B,. Forjes by Dionicic
For jes
7405; PROOF of Claim Form For Summary Execution Victims by Elmer Lagarteja by Dominga
L. Lagarteja
7406) PROOF of Claim Form For Summary Execution Victims by Nestor N. Vidal by Leonida
5. Vidal
7407 | PROOF of Claim Form For Summary Execution Victims by Luzminda Abeloros by Felicit
Abeloras
7408) PROOF of Claim Form For Summary Execution Victims by Primitiva C. Rivera by
Cheryline Rivera Balayin
| 7409 PROOF of Claim Form For Summary Execution Victims by Salic Kadapal by Basit
Lumambas
7410! PROOF of Claim Form For Summary Execution Victims by Alberto Gongob, Roselo
Gongob, Antonita Ocanam Gongob by Esidra Gongob
7411) PROOF of Claim Form For Summary Execution Victims by Margarita Agapay by Josefa
Lomingkit
7412) PROOF of Claim Form For Summary Execution Victims by Kananautan Makasilang by
Lagundungan Makasilang
7413| PROOF of Claim Form For Summary Execution Victims by Abdullah Alim by Abad Alim
7414, PROOF of Claim Form For Summary Execution Victims by Edgardo U. Arnaiz by Eronio |
U. Arnaiz
7415) PROOF of Claim Form For Summary Execution Victims by Pedtandingan Daud by Hadji
Ali Lumambas
7416 | PROOF of Claim Form For Summary Execution Victims by Francisco Monggal by Aurelia
Monggal
Ss 7417; STATEMENT by Sinbad S$. Maurin
74181 STATEMENT by Benondo R. Rego
7419) STATEMENT by Moises C. Cezar
7420, STATEMENT by Lucia P. Penaruba
7421) STATEMENT by Sulpico P. Ramento
7422; STATEMENT by Arsenia Cruzado
7423| STATEMENT by Bernardo R. Regio
7424 STATEMENT by Leangro R. Regio
7425 | STATEMENT by Mabini Arbolido
7426 STATEMENT by Liwayway Quindoza
7427 STATEMENT by Juana P. regio
7428 | STATEMENT by Emetrio Q. Regio, Sr.
7429 STATEMENT by Emetrio R. Rego, Jr.
12 7430 | PROOF of Claim Form For Torture Victims by Fidel A. Gaduen
7431) PROOF of Claim Form For Torture Victims by Ernesto Gacias
7432, PROOF of Claim Form For Torture Victims by Veronica G. Gacias
7433) PROOF of Claim Form For Torture Victims by Amador Funelas
7434 | PROOF of Claim Form For Torture Victims by Nonite J. Borromeo, Sr.
7435 | PROOF of Claim Form For Torture Victims by Alejandro Escultura, Deceased by Este]
Escultura
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PLAINTIFF : DEFENDANT S

IN RE: ESTATE OF FERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION 42420200000 ere ree

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CATE NR. PROCEEROINGS

[May 12 | 7436 PROOF of Claim Form For Torture Victims by Melvin A. Givero
7437 | PROOF of Claim Form For Torture Victims by Isabel Diaz Lumansoc
7438 | PROOF of Claim Form For Torture Victims by Victoria Lumansoc Gigo
| 7439 PROOF of Claim Form For Torture Victims by Florepe Girero
7440 . PROOF of Claim Form For Torture Victims by Rogelio M. Hubilla
7441 PROOF of Claim Form For Torture Victims by Jose Gutlay
: 7442 | PROOF of Claim Form For Torture Victims by Felipe J. Josue, Jr., Deceased by
oscar E. Josue
7443 PROOF of Claim Form For Torture Victims by Glicerico Lolos, Sr.
| 7444 PROOF of Claim Form For Torture Victims by Caredad Baldres
| 7445 PROOF of Claim Form For Torture Victims by Diogenes E. Esperanzate
7446 . PROOF of Claim Form For Torture Victims by Eliseo Enriquez Estares
7447 PROOF of Claim Form For Torture Victims by Fernando Hubilla
| 7448 "PROOF of Claim Form For Torture Victims by Felix Surbano
7449 | PROOF of Claim Form For Torture Victims by Gloria Surbano
7450 | PROOF of Claim Form For Torture Victims by Ruben Surbano
- 7451 PROOF of Claim Form For Torture Victims by Baltazara Hajas
7452 ~, PROOF of Claim Form For Torture Victims by Domingo Surbano
7453 PROOF of Claim Form For Torture Victims by Armando T. Santos

| 7454 | PROOF of Claim Form For Torture Victims by Necomedes Esperanzate
7455 | PROOF of Claim Form For Torture Victims by Edilberto L. Alde

7456 | PROOF of Claim Form For Torture Victims by Bonifacio Hebres

/7457 | PROOF of Claim Form For Torture Victims by Emperatres B. Hebres

| 7458 | PROOF of Claim Form For Torture Victims by Serafen Relanes

7459 | PROOF of Claim Form For Torture Victims by Roger Feolino

7460 | PROOF of Claim Form For Torture Victims by Grigorio Ariston

7461 | PROOF of Claim Form For Torture Victims by Diogenes G. Gidoc

7462 | PROOF of Claim Form For Torture Victims by Antonio B. Bernate, Sr., Deceased by
Gaudencia C. Bernate

7463 | PROOF of Claim Form For Torture Victims by Alfredo Bagasala

7464 PROOF of Claim Form For Torture Victims by Selomon Gocoyo

7465 | PROOF of Claim Form For Torture Victims by Apolinario T. Lumansoc

(7466 PROOF of Claim Form For Torture Victims by Fema Guiza Gocoyo

7467 | PROOF of Claim Form For Torture Victims by Algier G. Givero

7468 | PROOF of Claim Form For Torture Victims by Sotera S. Espela

7469 PROOF of Claim Form For Torture Victims by Wenceslao Lacsa

|7470 | PROOF of Claim Form For Torture Victims by Esmundo Ginga

7471 > PROOF of Claim Form For Torture Victims by Uldarico Gabitan

7472 PROOF of Claim Form For Torture Victims by Salvador E. Espineda

7473 | PROOF of Claim Form For Torture Victims by Joselito I. Dimaano

7474 PROOF of Claim Form For Torture Victims by Manuel B. Ginero

7475 | PROOF of Claim Form For Torture Victims by Pedro Gobis

7476 | PROOF of Claim Form For Torture Victims by Oscar Llagas

7477 | PROOF of Claim Form For Torture Victims by Eduardo Diaz

7478 | PROOF of Claim Form For Torture Victims by Serafin Baldres

'7479 | PROOF of Claim Form For Torture Victims by Bonefacio Baldres

7480 | PROOF of Claim Form For Torture Victims by Fidel E. Diaz

7481 | PROOF of Claim Form For Torture Victims by Calixto Esperanzate

7482 | PROOF of Claim Form For Torture Victims by Bembenido Esperanzate, Deceased by
Consuelo Esperanzate

7483 | PROOF of Claim Form For Torture Victims by Irenio Esperangate, Deceased by Dolores
Esperanzate

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CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

EN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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DATE NR. |
1999 i
May 12 | 7484 PROOF of Claim Form For Torture Victims by Danilo Esperanzate
| 7485 | PROOF of Claim Form For Torture Victims by Rosela Escurido, Deceased by Euterio
Escurido
| 7486 | PROOF of Claim Form For Torture Victims by Jessie Encinares, Deceased by Leonora
| Encinares
| 7487 PROOF of Claim Form For Torture Victims by Jose Esperanzate
7488 | PROOF of Claim Form For Torture Victims by Alfonso Haloc, Deceased by Demetrio
@ Haloc
| 7489 PROOF of Claim Form For Torture Victims by Leopoldo Garido, Jr.
_ 7490) PROOF of Claim Form For Torture Victims by Salvador Guban
| 7491 | PROOF of Claim Form For Torture Victims by Francisco M. Plarisan
7492 PROOF of Claim Form For Torture Victims by Susana P. Ladlad
| 7493) PROOF of Claim Form For Torture Victims by Cynthia A. Jallores
_ 7494 PROOF of Claim Form For Torture Victims by Luis De Leon
| 7495. PROOF of Claim Form For Forture Victims by Magina B. eduarte
| 7496 | PROOF of Claim Form For Torture Victims by Felimon B. Buiza
| 7497. PROOF of Claim Form For Torture Victims by Simon Buiza, Deceased by Magina B.
eduarte
| 7498) PROOF of Claim Form For Torture Victims by Romeo G. Buiza
| 7499) PROOF of Claim Form For Torture Victims by Arturo G. Grabador
7500) PROOF of Claim Form Fer Torture Victims by Avelina Enrile-Carlos
7501 | PROOF of Claim Form For Torture Victims by Jimmy M. Omaseng
7502) PROOF of Claim Form For Torture Victims by Carmencito B, Yamba
7503 | PROOF of Claim Form For Torture Victims by Crisante Ducusin Palabay
| 7504 | PROOF of Claim Form For Torture Victims by Jesus Ducusin Palabay, Sr.
7505 | PROOF of Claim Form For Torture Victims by Romulo Ducusin Palabay, Deceased by
Claudia Denise B. Palabay
| 7506 | PROOF of Claim Form For Torture Victims by Francisco Ducusin Palabay, Jr.
| 7507; PROOF of Claim Form For Torture Victims by Armando "Mandrake" Bucusin Palabay,
Deceased by Felicidad Ducusin Palabay
| 7508! PROOF of Claim Form For Torture Victims by Felicidad Ducusin Palabay
| 7509 | PROOF of Claim Form For Disappearance Victims by Arnolfo Dulva by Florenda Dulva
_ 7510) PROOF of Claim Form For Disappearance Victims by Leonarda Ginga, Beverly Ginga,
Jocelyn Ginga by Letecia Ginga
7511, PROOF of Claim Form For Disappearance Victims by Melba Ariston by Zenaida Ariston
7512 | PROOF of Claim Form For Disappearance Victims by Teodegario Gallon, Jr. by
| Santiago Gallon
7513 | PROGF of Claim Form For Disappearance Victims by Napoleon Estrabelo by Deema E.
Garbida
| 7314 /| PROOF of Claim Form For Disappearance Victims by Eddie N. Sederia
| 7515 | PROOF of Claim Form For Disappearance Victims by Estelita B. Miras
7516 PROOF of Claim Form For Disappearance Victims by Jacinto P. Gabillo
7517) PROOF of Claim Form For Summary Execution Victims by Romulo A. Jallores by
Cynthia A. Jallores
7518 | PROOF of Claim Form For Summary Execution Victims by Luzviminda Gemola
7519! PROOF of Claim Form For Summary Execution Victims by Leonardo A. Catapia by
Imelda A. Catapia
7520 | PROOF of Claim Form For Summary Execution Victims by Paterno Godalla, Sr.
7521 | PROOF of Claim Form For Summary Execution Victims by Ramon M. Bontigao by
Gorgonio G. Bontigao
7522 PROOF of Claim Form For Summary Execution Victims by Juan G. Fruto

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: May 12 7523 > PROOF of Claim Form For Summary Execution Victims by Lauriano G. Zapitan by
= Lilia Z. Grayda
7524 | PROOF of Claim Form For Summary Execution Victims by Salvador Gubat by Selde G.
Gubat
7525 | PROOF of Claim Form For Summary Execution Victims by Rofino G. Gubat by Tarpin
7526 PROOF of Claim Form For Summary Execution Victims by Genaro Godala Fruto by
: : Martin C. Fruto é
. 7527 | PROOF of Claim Form For Summary Execution Victims by Teodolo Fermanes Fruto
7528 | PROOF of Claim Form For Summary Execution Victims by Henry G. Genobeta
7529 PROOF of Claim Form For Summary Execution Victims by Ramon F. Fruto by Rosario
: Fruto Chavez
-7530 PROOF of Claim Form For Summary Execution Victims by Pedro Godalla by Roman
Gedalla
7531 PROOF of Claim Form For Summary Execution Victims by Angel Bibal by Carolina
Bibal
7532 PROOF of Claim Form For Summary Execution Victims by Leon Bontigao by Odon
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| 7533 | PROOF of Claim Form For Summary Execution Victims by Pedro Gedalla by Roman
Godalla
| 7534 | PROOF of CLaim Form for Torture Victims by Marilou M. Petugo
7535 | STATEMENT by Romeo V. Demandante
7536 | STATEMENT by Neri Javier Colmenares
13 7537 | STATEMENT by Alejandro Baes

7338 |) Plaintiff Class' MOTION to Terminate Settlement Agreement; MOTION to Vacate Or
Amend Judgment Entered April 29, 1999; Memorandum In Support of Motion;
Declaration of Sherry P. Broder; Certificate of Service - iCv 86-390,
86-333] - Referred to Judge Manuel L. Real

7539 | PROOF of Claim Form For Torture Victims by Alfredo R. Balausag

7540 PROOF of Claim Form For Torture Victims by Lakiman Goudie, Deceased by Ali Goudie
| 754) | PROOF of Claim Form For Torture Victims by Sailila Pangilayan

/7542 | PROOF of Claim Form For Torture Victims by Taeb Warim

7543 > PROOF of Claim Form For Torture Victims by Venusto Asuero

7544 | PROOF of Claim Form For Torture Victims by Mando Amilol

'7545 | PROOF of Claim Form For Torture Victims by Mingkat Gani

7546 | PROOF of Claim Form For Torture Victims by Keto Choz

7347 | PROOF of Claim Form For Torture Victims by Elena A. Tepace

7548 | PROOF of Claim Form For Torture Victims by Antonio L. Talingting, Deceased by
Conchita T. Perfecto

7349 | PROOF of Claim Form For Torture Victims by Danilo P. Escol

7550 PROOF of Claim Form For Torture Victims by Jose A. Tepace

7351 : PROOF of Claim Form For Torture Victims by Vicente A. Martinez, Deceased by Irene
B. Martinez

7352 PROOF of Claim Form For Torture Victims by Fernanda R. Nungay

7553 | PROOF of Claim Form For Torture Victims by Pablo K. Boter, Deceased by Celeste 0.
Botor

7554 | PROOF of Claim Form For Torture Victims by Salvador Calanes

7355 | PROOF of Claim Form For Torture Victims by Noel M. Esporma

7556 | PROOF of Claim Form For Torture Victims by Hilaria L. Batao

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May 13 | 7557) PROOF of Claim Form For Torture Victims by Jose 0. Cala, III

7558 PROOF of Claim Form For Torture Victims by Peki S. Asi

PROOF of Claim Form For Torture Victims by Feliciano S. Oling, Sr.
7560 | PROOF of Claim Form For Torture Victims by Valentin Pauden .
7561. PROOF of Claim Form For Torture Victims by Esteban Z. Badenas, Deceased by Maria.
A. Badenas

7562! PROOF of Claim Form For Torture Victims by Salipada B. Kasan
7563 | PROOF of Claim Form Por Torture Victims by Said Camarudin

| 7564) PROOF of Claim Form For Torture Victims by Xalasuma Kabagani i
7565 PROOF of Claim Form For Torture Victims by Midpantao Amilol

7566 PROOF of Claim Form For Torture Victims by Lydio J. Mangao

7567 PROOF of Claim Form For Torture Victims by Enriel E. Velasco, Deceased by Enoe
| Velasco-Santes

| 7568) PROOF of Claim Form For Torture Victims by Bernaldo Guardario

7569! PROOF of Claim Form For Torture Victims by Rodulfo Torreblanca

7570) PROOF of Claim Form For Torture Victims by Peran Nocos

7571 | PROOF of Claim Form For Torture Victims by Thomas D. Subrepena

| 7572} PROOF of Claim Form For Torture Victims by Rodolfo E. Ferrer

7573 PROOF of Claim Form For Torture Victims by Palermo Garnande

© 7374! PROOF of Claim Form For Torture Victims by Lily Libodlibod

7575) PROOF of Claim Form For Torture Victims by Modesto Camilan, Jr., Deceased by
Nancy A. Camilan

7576) PROOF of Claim Form For Torture Victims by Juanito C. delos Reyes

7577 PROOF of Claim Form For Torture Victims by Wilfredo Almeniana, Deceased by Romeo
Almeniana

7578) PROOF of Claim Form For Torture Victims by Kalima Compania

7579) PROOF of Claim Form For Torture Victims by Talilisan M. Untua

7380 | PROOF of Claim Form For Torture Victims by Tuang Dalid

7581) PROOF of Claim Form For Torture Victims by Katiguia Pananggulon Kasuya

7582 | PROOF of Claim Form For Torture Victims by Felipe Empasy

7583) PROOF of Claim Form For Torture Victims by Isidro Narciso, Deceased by Salvacion

Narciso

8 7584) PROOF of Claim Form For Torture Victims by Inocencio Malacapay

7585) PROOF of Claim Form For Torture Victims by Ronie Singabor
7386 | PROOF of Claim Form For Torture Victims by Cenon Lusica, Sr.
7387 > PROOF of Claim Form For Torture Victims by Leonarda Torreblanca
7588| PROOF of Claim Form For Torture Victims by Andres Agudong
7389) PROOF of Claim Form For Torture Victims by Jose Plohimon
7590| PROOF of Claim Form For Torture Victims by Carlos Garsola
7391; PROOF of Claim Form For Torture Victims by Eddie Garcia
7592; PROOF of Claim Form For Torture Victims by Pablito Macario
7593| PROOF of Claim Form For Torture Victims by Benedio Bautista
7594) PROOF of Claim Form For Torture Victims by Ahpi Ebus
7395| PROOF of Claim Form For Torture Victims by H. Esmail Lagensay
7596] PROOF of Claim Form For Torture Victims by Bebencio Macario
7397| PROOF of Claim Form For Torture Victims by Samson Caldito
7598] PROOF of Claim Form For Torture Victims by Edsing Tagum
7599; PROOF of Claim Form For Torture Victims by Zainab Hasan
7600 | PROOF of Claim Form For Torture Victims by Kanakam Banjil
7601! PROOF of Claim Form For Torture Victims by Alberto Langyao
7602| PROOF of Claim Form For Torture Victims by Fermin Velasquez
7603 PROOF of Claim Form For Torture Victims by Marcelo A. Gumanod

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CIVIL DOCKET CONTINUATION SHEET
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May 13 7604 . PROOF of Claim Form For Torture Victims by Wilfredo Almeniana. Deceased by Romeo
: Almeniana
/ 7605 PROOF of Claim Form For Torture Victims by Nicanor Francisco, Deceased by Josefina
Francisco

| 7606 PROOF of Claim Form Fer Torture Victims by Evaristo Montero
7607 . PROOF of Claim Form For Torture Victims by Benjamen Pedrigan
7608 PROOF of Claim Form For Torture Victims by Jerry M. Sesuiro
| 7609 PROOF of Claim Form For Torture Victims by Bernardo R. Pacheco
' 7610 | PROOF of Claim Form For Torture Victims by Felipe Oyos, Jr. <q
7611 PROOF of Claim Form For Torture Victims by Danny Ibanez
: 7612) PROOF of Claim Form For Torture Victims by Babencio Macarioc
| 7613 PROOF of Claim Form For Torture Victims by Federico Antonio
7614 . PROOF of Claim Form For Torture Victims by Sixto ¢. Doro
7615 | PROOF of Claim Form For Torture Victims by Bonifacio Sayson, deceased by Francis
: Sayson
7616 PROOF of Claim Form For Torture Victims by Erlinda Garnande
7617 | PROOF of Claim Form For Torture Victims by Narciso Doro
7618 PROOF of Claim Form For Torture Vicrims by Edilberto Caldito
7619 PROOF of Claim Form For Torture Victims by Danilo C. Malimbag
7620 | PROOF of Claim Form For Torture Victints by Sonny Boy Eno
7621 PROOF of Claim Form For Torture Victims by Carlos Catalan
7622 | PROOF of Claim Form For Torture Victims by Paquito Desoyo
7623 | PROOF of Claim Form For Torture Victims by Warlito Lumihok
7624 | PROOF of Claim Form For Torture Victims by Virgilio Tomaquin
7625 | PROOF of Claim Form For Torture Victims by Diosdado G. Campos
7626 | PROOF of Claim Form For Torture Victims by Covinton Pampa
7627 | PROOF of Claim Form For Torture Victims by Roberto C. Doro
7628 | PROOF of Claim Form For Torture Victims by Rodolfo Boro
7629 | PROOF of Claim Form For Torture Victims by Romeo Malinac
7630 . PROOF of Claim Form For Torture Victims by Mike Sapalon
7631 | PROOF of Claim Form For Torture Victims by Kalnain Usman, Deceased by Medon Usman
7632 | PROOF of Claim Form For Torture Victims by Domingo Daclag Bacsal, Jr.
7633. PROOF of Claim Form For Torture Victims by Napolito Puntal
7634 | PROOF of Claim Form For Torture Victims by Beltran Manaet
_ 7635 | PROOF of Claim Form For Torture Victims by Umbra S$. Mama
7636 PROOF of Claim Form For Torture Victims by Hadji Mukamad Hadji Esmail
7637 | PROOF of Claim Form For Torture Victims by Benedicto M. Sandingay
7638 | PROOF of Claim Form For Torture Victims by Romilo N. Osabal
7639 | PROOF of Claim Form For Torture Victims by Concepcion (Concha) Araneta-Bocala
7640 | PROOF of Claim Form For Torture Victims by Esmail Sabdula, deceased by Rahib
Sabdula
7641 | PROOF of Claim Form For Torture Victims by Carlito Camimade
7642 | PROOF of Claim Form For Torture Victims by Remedios Guelan Diaz
7643 | PROOF of Claim Form For Torture Victims by Ebrahim Edris
7644 | PROOF of Claim Form For Torture Victims by Usman Gusa
7645 | PROOF of Claim Form For Torture Victims by H. Esmail Lagensay
7646 | PROOF of Claim Form For Torture Victims by Budta Datucali
7647 | PROOF of Claim Form For Torture Victims by Sittie Hawa Guiamad
7648 | PROOF of Claim Form For Torture Victims by Enrique Beli-ot
7649 | PROOF of Claim Form For Torture Victims by Paquito Diaz
7650 | PROOF of Claim Form For Torture Victims by Joel Paborada

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May 13. 7651 PROOF of Claim Form For Torture Victims by Sabdula Talusob
7652. PROOF of Claim Form For Torture Victims by Tasil Bangkas
| 7653) PROOF of Claim Form For Torture Victims by Dalamuli Ss. Akad~Magandingan
| 7654. PROOF of Claim Form For Torture Victims by Loreto Sonio . i
_ 7655 | PROOF of Claim Form For Torture Victims by Modesto Camilan, Sr,
| 7656 PROOF of Claim Form For Torture Victims by Teodoro Paller, Sr.
| 7657] PROOF of Claim Form For Torture Victims by William Cc. Gacias
: 7658! PROOF of Claim Form For Torture Victims by Ubaldo A. Hagupit
7659 | PROOF of Claim Form For Torture Victims by Kusin Ura
7660 | PROOF of Claim Form For Torture Victims by Mamiscal M. Mlah
7661! PROOF of Claim Form For Torture Victims by Mando M. Mlah
7662 > PROOF of Claim Form For Torture Victims by Lorenzo Aguinaga
_ 7663, PROOF of Claim Form For Torture Victims by Sixto Carilla Garilao I
: 7664 | PROOF of Claim Form For Torture Victims by Martiniano Meriballes
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| 7670) PROOF of Claim Form For Torture Victims by Godofredo Balitar
& | 7671 | PROOF of Claim Form For Torture Victims by Anacleta Mejea
| 7672 PROOF of Claim Form For Torture Victims by Julianita Florentino
| 7673) PROOF of Claim Form For Torture Victims by Pilto A. Madendog
| 7674 PROOF of Claim Form For Torture Victims by Romeo Tadeo
| 7675 PROOF of Claim Form For Torture Victims by Jose Gerolia
| 7676! PROOF of Claim Form For Torture Victims by Reneboy Armado Allego, Deceased by
Teresita Allego
| 7677 | PROOF of Claim Form For Torture Victims by Bibiano Gazo
| 7678) PROOF of Claim Form For Torture Victims by Dina G. Pimentel
7679 | PROOF of Claim Form For Torture Victims by Tolentino Baseloy
/ 7680 | PROOF of Claim Form For Torture Victims by Imelda delos Santos
7681) PROOF of Claim Form For Torture Victims by Winnie Reyes
D | 7682; PROOF of Claim Form For Torture Victims by Eduardo C. Palmes
| 7683) PROOF of Claim Form For Disappearance Victims by Salim Abu by Farok Abu
7684 > PROOF of Claim Form For Disappearance Victims by Salik Andig by Dido Andig
7685 | PROOF of Claim Form For Disappearance Victims by Aisah Bale
7686 | PROOF of Claim Form For Disappearance Victims by Fortunato Cabel by Pable B.
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7687 | PROOF of Claim Form For Disappearance Victims by Maximo Gabiana by Arturo BD,
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7688 | PROOF of Claim Form For Disappearance Victims by Javier Francisco Jocosal by
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7689 | PROOF of Claim Form For Disappearance Victims by Sagulungan Malaquia by
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7690 | PROOF of Claim Form For Disappearance Victims by Andy Budi by Kundo Budi
7691, PROOF of Claim Form For Disappearance Victims by Santos Pandita by Agustin
Pandita
7692; PROOF of Claim Form For Disappearance Victims by Magsaysay Salilaguia by Malong
Salilaguia
7693 | PROOF of Claim Form For Disappearance Victims by Tripon Layang by Bart Balido
7694 | PROOF of Claim Form For Disappearance Victims by Francesca B. Odian
See Page 259

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| 7702 PROOF of Claim Form For
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7704 | PROOF of Claim Form For Disappearance
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7705 . PROOF of Claim Form For Disappearance
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7706 PROOF of Claim Form For Disappearance
7707 | PROOF of Claim Form For
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7709 | PROOF of Claim Form For Disappearance
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7721 | PROOF of Claim Form For
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7723 | PROOF of Claim Form For
7724 | PROOF of Claim Form For

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by

Saturnino Qdian by Francesca
Abu Lalusan by Palit Talusan
Bernardino Adwisan by Bart Balidp
Edza Catiog by Sanggutin Katiog
Bakalula Kamarudin by Said
Mokamad Saguia by H. Omal
Mohamad Orasan by Orasan H.
Abdulkasan Suamadla and

Omar Abubakar and Tot Omar by
Abdullah Nagamsas by Ngamsas

Kamad Salilaguia by Ramlon

Bano Ebrahim by Labia Ebrahin
Abdulgani Kabagani by Kalusuma

Makmod Bantulinay and Guiamalon
Danilo Bargayo and Jimmy
Rogelio Baynosa by Natividad P.
Ernesto de Asis by Fausta de

Fr Provencial by Frank

Rev.

Fainada Ebus by Ebus Sula
Dungguan Pagalungan by Babae

Saligandang Dalonan by Galing

Melecio Espana by Melecia

Sinonggayan Pinagayao by
Helen Juayang by Merlinda
Rodrigo Amasan by Alma Amasan
Samuel Padayogdog by Elea 8S.

Farok Abu
Dominador Magpatoc by Marina

Martin Wahab by Bayan Wahab
Mereno Ansar by Mariam Ansar

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(Rev. 1/75) PagelD. 198
CiVIL, DOCKET CONTINUATION SHEET
PLAINTIFF | DEFENDANT |
i | DOCKET NO. MDL 840 |
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May 130 7725) PROOF of Claim Form For Disappearance Victims by Ruben $. Tuazon by Alesandro

i Tuazon
7726) PROOF of Claim Form For Disappearance Victims by Jose Frencillo

7727 PROOF of Claim Form For Disappearance Victims by Pulok Nayasa by Hadji Amina
i Mayasa

7728) PROOF of Claim Porm For Disappearance Victims by Monek Samilon by Abduigani
Samilon
| 7729) PROOF of Claim Form For Disappearance Victims by Fernando Magno by Nelda Magno
| 7730; PROOF of Claim Form For Disappearance Victims by Salvador Ansar by Mariam B.
Ansar
_ 7731) PROOF of Claim Form For Disappearance Victims by Saphyla A. Diabal
7732, PROOF of Claim Form For Disappearance Victims by Acbar Cormat by Saphyla A.
/ Diabal
| 7733, PROOF of Claim Form For Disappearance Victims by Datukon Kasim by Wahida K. Kasim
| 7734) PROOF of Claim Form For Disappearance Victims by Datuam Kasim by Wahida K. Kasim
| 7735 PROOF of Claim Form For Disappearance Victims by Kutin Maranad by Wahida K. Kasim
| 7736, PROOF of Claim Form For Disappearance Victims by Datumana Kasim by Wahida K, Kasi
7737) PROOF of Claim Form For Disappearance Victims by Undag Untong by Sadia Untong
7738) PROOF of Claim Form For Disappearance Victims by Salik Sulaiman by Kalima
: Sulaiman
| 7739, PROOF of Claim Form For Disappearance Victims by Generoso Esteban by Dolores
Esteban
7740 PROOF of Claim Form For Disappearance Victims by Dolores Esteban
7741) PROOF of Claim Form For Disappearance Victims by Renato Bautista by Visitacion
Bautista
7742 | PROOF of Claim Form For Disappearance Victims by Benjamen Bahiyo by Bernalda
Bahiyo
7743 PROOF of Claim Form For Disappearance Victims by Jose Patricio by Emma Patricio
7744 | PROOF of Claim Form For Disappearance Victims by Harrison Arzaga by Libertad
Arzaga
7745 | PROOF of Claim Form For Disappearance Victims by Denis Espanola by Teresita

Espanola
8 | 7746 | PROOF of Claim Form For Disappearance Victims by Ruben Banhao by Nieves Banhao
7747 | PROOF of Claim Form For Disappearance Victims by Benjamen Pioquinto, Jr. by
Florenia Tubigon
7748 | PROOF of Claim Form For Summary Execution Victims by Vinancio P. Geromo by
Erlinda S. Geromo
7749) PROOF of Claim Form For Summary Execution Victims by Orlando M. Dancel, Sr. by

Herminia P. Dancel
7730 | PROOF of Claim Form For Summary Execution Victims by Rogin Atsoy by Anita Tanyap

y Atsoy
7731) PROOF of Claim Form For Summary Execution Victims by Joenita G. Tanyap by

Venaancio Tanyap

7752 | PROOF of Claim Form For Summary Execution Victims by Petronilla S. Gabotao by
Elena Bagotao

7753 | PROOF of Claim Form For Summary Execution Victims by Tgnacio §. Atsoy by Erlinda
Ybanez Atsoy

7754 | PROOF of Claim Form For summary Execution Victims by Felipe Undol Atsoy by
Erlinda Simbolan Atsoy

7755 | PROOF of Claim Form For Summary Execution Victims by Roseminda Undol Atsoy by
Ramon Undol Atosy

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NR.

/ 7756 PROOF of Claim Form For Summary Execution Victims bv Esped Bulato by Ramon U,

: Atsoy

. 7757 PROOF of Claim Form For Summary Execution Victims by Ruben Paculanang by Juan
Paculanang

7758 ) PROOF of Claim Form For Summary Execution Victims by Mohammad Usman by Abubakar

: M. Usman
7759 | PROOF of Claim Form For Summary Execution Victims by Guintuan Dumagay by Kintuan

: / Dumagay
7760 | PROOF of Claim Form For Summary Execution Victims by Samad Usman by Abubakar M.
! Usman

| : 7762 > PROOF of Claim Form For Summary Execution Victims by Abdulkalid Usman by

: Abubakara M. Usman
/7762 PROOF of Claim Form For Summary Execution Victims by Jaime C. Agustin by Rosella
A. Agustin

7763 PROOF of Claim Form For Summary Execution Victims by Norberto Estimoso by Adelina
: Estemoso

7764 PROOF of Claim Form For Summary Execution Victims by Rufino Oliverio by Emereciana
: Oliverio

7765 | PROOF of Claim Form For Summary Execution Victims by Mustapah T. Hadji Abas by
Pekok Aliman

7766 | PROOF of Claim Form For Summary Execution Victims by Mando Edkenegen by Egkenepen
Maiten
| PROOF of Claim Form For Summary Execution Victims by Buto Mundo by Saweya M. Edol
'7768 | PROOF of Claim Form For Summary Execution Victims by Godoberto Garnica by
| Anastacia Cabando

/7769 | PROOF of Claim Form For Summary Execution Victims by Manolo Jubelag Hollero by
Amdaro Jubelag Hollero
17770 | PROOF of Claim Form For Summary Execution Victims by Saban Tugkias by Sonia Tugkias
(7772 | PROOF of Claim Form For Summary Execution Victims by Jhonny Atip by Taya Atip
| 7772 | PROOF of Claim Form For Summary Execution Victims by Zunain Sali by Labaya Sali
7773 | PROOF of Claim Form For Summary Execution Victims by Romeo Satentas by Violeta
Sawit Sarentas
_7774 | PROOF cf Claim Form For Summary Execution Victims by Cirilo Campo by isidra Campo
/7775 | PROOF of Claim Form For Summary Execution Victims by Micahel J. Sumilang by
Myrna M. Sumilang
7776 PROOF of Claim Form For Summary Execution Victims by Akmad A. Balimbungan by
Abel Balimbingan
7777 | PROOF of Claim Form For Summary Execution Victims by Genaro Cabiten by Amparo
J. Cabiten
7778 | PROOF of Claim Form For Summary Execution Victims by Mamang Abdul by Abdul
Gumengen
7779 | PROOF of Claim Form For Summary Execution Victims by Guadil Ulama Samaunga Teng
Ulama by Noraisa Ylama
7780 | PROOF of Claim Form For Summary Execution Victims by Mosib T, Biang and Sanggutin
Biang by Tendra B. Kunakon
7781 | PROOF of Claim Form For Summary Execution Victims by Rebecca B. Tukan and Baluno
Maulana by Alex B. Tukan
7782 | PROOF cf Claim Form For Summary Execution Victims by Sinambai Mangulamas by
Katididato Mangulamas
7783 | PROOF of Claim Form For Summary Execution Victims by Asog Guiamad by Sittie Hawa
Guiamad
7784 | PROOF of Claim Form For Summary Execution Victims by

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Dali Ante by Komsek Ante

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7790| PROOF of Claim Form For Summary Execution Victims by
7791 PROOF of Claim Form For Summary Execution Victims by
Sumangca Mangrag

| 7792} PROOF of Claim Form For Summary Execution Victims by
7793 PROOF of Claim Form For Summary Execution Victims by
Kalumanga and Esmael Amolo by Abdul Kalumanga

| 7794 PROOF of Claim Form For Summary Execution Victims by
Salaban by Sabal Salaban

7795 | PROOF of Claim Form For Summary Execution Victims by
Bayan

7796 PROOF of Claim Form For Summary Execution Vietims by

7797) PROOF of Claim Form For Summary Execution Victims by
Kamadon Guiamadil

7798 | PROOF of Claim Form For Summary Execution Victims by
Kadil Magalitok

7799 | PROOF of Claim Form For Summary Execution Victims by
Baones

7800 | PROOF of Claim Form For Summary Execution Victims by
Awal

7801 | PROOF of Claim Form For Summary Execution Victims by
F. Millendes

7802) PROOF of Claim Form For Summary Execution Victims by
by Ma-Luz Jamen

| 7863 | PROOF of Claim Form For Summary Execution Victims by
Loberas

7804 | PROOF of Claim Form For Summary Execution Victims by
Omboy

7805 | PROOF of Claim Form For Summary Execution Victims by
Olveros by Odie Oliveros

7806 | PROOF of Claim Form For Summary Execution Victims by
T. Andales

7807 | PROOF of Claim Form For Summary Execution Victims by
7808 | PROOF of Claim Form For Summary Execution Victims by

T. Intong

7809 | PROOF of Claim Form For Summary Execution Victims by
T. Hisona

7810 | PROOF of Claim Form For Summary Execution Victims by
Balayan

7811 | PROOF of Claim Form For Summary Execution Victims by
Buka

7812 | PROOF of Claim Form For Summary Execution Victims by
Hassan See Pape 263

1999"
May 130 7785, PROOF of Claim Form For Summary Execution Victims by Abdullah Dagman by Noraima
: ! Esmael
7786, PROOF of Claim Form For Summary Execution Victims by Matabai Mangrag by Sumangca
Mangrag .
7787, PROOF of Claim Form For Summary Execution Victims by JUlieto c. Morales by Susana
L. Lacapag
7788; PROOF of Claim Form For Summary Execution Victims by Akmad Selay by Abdulmanap
Selay
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7789) PROOF of Claim Form For Summary Execution Victims by Wilfredo V. Lopez by Faust im
A. Rabago

Sugagil, Kalut Sugagil and Ila Sugagil by Mayatog Sugagil

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Pakad Kabagel by Munib Pakad
Hadji Amina Mangrag by

Engga Mama by Abdulla Mama
Kalumanga Agad, Amilal

Brahim Salaban and Akan
Guiamadel Kenegen by Kenegen
Mantil Sugagil, Maisala
Hailon B. Guiamadil by
Kubaid M. Saban by Abdul
Judy Gabatan by Cirilo
Samama Talampid by Samama
Julio Millendez by Barsilisa
Mario Jamen and Rodolfo Jamen
Herman Loberas by Rodolfo
Vecinte Omboy by Irenio
Dimson Loveros and Arsenip

Rodrigo Andales by Julieta

Edo Blanea by Antonio Blanca
Felizardo Intong by Josita

Arsenio Hesona by Leticia
Alfonso Balayan by Santiaga
Kondong Malaguia by Malaguia

Mala Piansing by Hadja Sapia

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DATE NR. PROCEEDINGS
“F995 : me sess =: cotta
“May 13 7813. PROOF of Claim Form For Summary Execution Victims by Rahib Benegkilan by Salayan
: Senengkilan
i ' 7814 | PROOF of Claim Form For Summary Execution Victims by William Barcelona by Evelyn
| Barcelona .
| / 7815 . PROOF of Claim Form For Summary Execution Victims by Felipe Oreta by Lucrecia
i : i Oreta
/ 7816 _ PROOF of Claim Form For Summary Execution Victims by Saliguidan Salasol by Salim
: Salasol é
: 7817 PROOF of Claim Form For Summary Execution Victims by Kamad Ayunan by Pidtandingan
Ayunan
: 7818 | PROOF of Claim Form For Summary Execution Victims by Aburama Mabandes by Akamad
Mabandes
7819 . PROOF of Claim Form For Summary Execution Victims by Jerry Jayawon by Anaclita
Javawon
7820 PROOF of Claim Form For Summary Execution Victims by Soraya Gasi by Zenaida Gasi
' 7821) PROOF of Claim Form For Summary Execution Victims by Tang Mamalo by Mangkong
Mamalo
/ F822 PROOF of Claim Form For Summary Execution Victims by ALfredo Nunez by Purificacio
i Nunez

7823 | PROOF of Claim Form For Summary Execution Victims by Kasim Mlo by Norma Rarangaya
'7824 | PROOF of Claim Form For Summary Execution Victims by Abdullah Daguit by Dinggasua
; Daguit

| 7825 | PROOF of Claim Form For Summary Execution Victims by Uti Parasan by Puas Parasan
7826 | PROOF of Claim Form For Summary Execution Victims by Ston Kuda by Anita A.

| Midsaliyag

: 7827 j PROOF of Claim Form For Summary Execution Victims by Maliga Gadsandalan by Nawal

| Babai

| 7828 | PROOF of Claim Form For Summary Execution Victims by Guiamalon Lidason by Gayba

i Guiamalon

/ 7829 | PROOF of Claim Form For Summary Execution Victims by Roberto Pelarion by Cristituto
Pelarion

7830 | PROOF of Claim Form For Summary Execution Victims by Manuel Pastrana and Julia
| Pastrana by Merlinda Palacios ¥ Pastrana

|7831 PROOF of Claim Form For Summary Execution Victims by Soraina Gasi by Zenaida Gasi
7832 , PROOF of Claim Form For Summary Execution Victims by Embao Dres by Sariya Embao

| 7833 | PROOF of Claim Form For Summary Execution Victims by Daguindengan Lumambas

7834 PROOF of Claim Form For Summary Execution Victims by Felix Beluestre by Eleanor

Baniel
7835 | PROOF of Claim Form For Summary Execution Victims by Salukong Kasim by Sulaiman
T. Kasim
|7836 | PROOF of Claim Form For Summary Execution Victims by Mindo Kibo by Umbo Kibo

Almazan
| 7838 (PROOF of Claim Form For Summary Execution Victims by Laloy Ingad by Mailon Ingad

'7839 | PROOF of Claim Form For Summary Execution Victims by Dionesio Ramirez, Jr. by

Ana Ramirez
7840 | PROOF of Claim Form For Summary Execution Victims by Lucresio Detoy by Lilia Octay

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7837 : PROOF of Claim Form For Summary Execution Victims by Benjamin Almazan by Rosalina

Ambao

7841 | PROOF of Claim Form For Summary Execution Victims by Cristoto Ambao by Ansimon
Ambao

7842 | PROOF of Claim Form For Summary Execution Victims by Sali Saloboran by Panuguran
Midsapak

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PLAINTIFF | DEFENDANT

| COCKET NO. MDL 840 _

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DATE NR. | PROCEEDINGS

1999
May 13 | 7843: PROOF of Claim Form For Summary Execution Victims by Kedalem Not by Kodalem Kudza

7844/ PROOF of Claim Form For Summary Execution Victims by Plaridel Escalona Sanchez
: by Gilda E. Sanchez
7845 | PROOF of Claim Form For Summary Execution Victims by Ali Darod by Kesal’ Wahab
i Darod
7846 | PROOF of Claim Form For Summary Execution Victims by Masuhod B. Lumenda by Raida
L. Montero
/ 7847, PROOF of Claim Form For Summary Execution Victims by Julito Ramirez by Ana
| Ramirez
| 7848: PROOF of Claim Form For Summary Execution Victims by Samir Samad by Sarida Samad
7849 PROOF of Claim Form For Summary Execution Victims by Palti Mohamad by Baibon
: i Mohamad
_ 7850} PROOF of Claim Form For Summary Execution Victims by Sapia Bakal by Abdul Bakal \
7851 PROOF of Claim Form For Summary Execution Victims by Abidin Dalala by Rahma
: Abidin
7852, PROOF of Claim Form For Summary Execution Victims by Baiking Usman by Phalti
: Usman
7853 | PROOF of Claim Form For Summary Execution Victims by Jekalim Guiamadel by
Guiamadel Margellen

7854) PROOF of Claim Form For Summary Execution Victims by Sampongan Causon by Umpig
Causon

7855, PROOF of Claim Form For Summary Execution Victims by Alamansa Camba by Salmen
Gamba

7856) PROOF of Claim Form For Summary Execution Victims by Angel Verano, Jr. by Ana
Verano

7857 PROOF of Claim Form For Summary Execution Victims by Tabilolo Madikay by Basit
Madikay

7858) PROOF of Claim Form For Summary Execution Victims by Wahab Nunangan by Wahab
Sammy

7859} PROOF of Claim Form For Summary Execution Vietims by Tugkias Manalindo by Tegar
Manealinda

D 7860) PROOF of Claim Form For Summary Execution Victims by Abdulkadil Abedin by Abedin
Pahisa
| 7861) PROOF of Claim Form For Summary Execution Victims by Sakilab M. Saban by Abdulkad
Magalitok

7862 | PROOF of Claim Form For Summary Execution Victims by Alab Salamat by Samba Salamat
7863 | PROOF of Claim Form For Summary Execution Victims by Aida Lumundao by Pendatun
T. Lumundao

7864 | PROOF of Claim Form For Summary Execution Victims by Abdulgoni Guiapal by Abusama
Guiapal

7865, PROOF of Claim Form For Summary Execution Victims by Nash Salamat by Datukon
Salamat

7866; PROOF of Claim Form For Summary Execution Victims by Amil Tuga by Esmail Tuga
7867 | PROOF of Claim Form For Summary Execution Victims by Muraid M. Saban by Abdulkadi

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Magalitok

7868 | PROOF of Glaim Form For Summary Execution Victims by Adam Guiamalon by Piao
Cuiamalon

7869 | PROOF of Claim Form For Summary Execution Victims by Abdul Talipekas by Sangeban
Abdul

7870 | PROOF of Claim Form For Summary Execution Victims by Francisco Atsoy by Anita
Tanyap y Atsoy

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7871 PROOF of Claim Form For Summary Execution Victims by Baby 5. Atsoy by Ramon U.
Atsoy
7872 PROOF of Claim Form For Summary Execution Victims by Felimon A. Insa by Demende
: Insa .
7873 | PROOF of Claim Form For Summary Execution Victims by Dedoy Nelato by Ramon U.
i Atsoy
7874 PROOF of Claim Form For Summary Execution Victims by Alma S. Umbac by Gilyn s.
/ Umbac
7875 PROOF of Claim Form For Summary Execution Victims by Dodong Molato by Ramon U.
: Atsoy
‘7876 PROOF of Claim Form For Summary Execution Victims by Antonio S. Umbac by Gilyn
Umbac
7877 PROOF of Claim Form For Summary Execution Victims by Sambutuan Tuta by Abdulah
: Tuta
7878 | PROOF of Claim Form For Summary Execution Victims by Gaga A. Insa by Demende Inga
7879 . PROOF of Claim Form For Summary Execution Victims by Kamad K, Benito by Mario L.
Benito
7880 PROOF of Claim Form For Summary Execution Victims by Wahab Taha by Kesal Wahab
Darod
7881 PROOF of Claim Form For Summary Execution Victims by Sangkala Wahab by Kesal Wahal
Darod
| 7882 PROOF of Claim Form For Summary Execution Victims by Vevencia $. Umbac by Gilyn
8S. Umbac
7883 PROOF of Claim Form For Summary Execution Victims by Lino Pataroja by Maria Yupo
| 7884 | PROOF of Claim Form For Summary Execution Victims by Jose Mario by Lucia Obine
7885 | PROOF of Claim Form For Summary Execution Victims by Latip Hasan and Dulay Latip
by Lakiya H. Hasan
7886 | PROOF of Claim Form For Summary Execution Victims by Tato N. Tuankali by Kinton
L. Tuankali
/7887 | PROOF of Claim Form For Summary Execution Victims by Rodolfo N. Balcanaa by Victori
| M. Balcanao
7888 | PROOF of Claim Form For Sumnary Execution Victims by AMpen Tuankali by Konton L.
Tuankali
7889 | PROOF of Claim Form For Summary Execution Victims by Basaludin Tumampal by Bukak
Tumampat
_ 7890 | PROOF of Claim Form For Summary Execution Victims by Bukong Tumampal by Bukak
| Tumampa 1
: 7891 | PROOF of Claim Form For Summary Execution Victims by Pikan Tumampal by Bukak
| Tumampal
(7892 | PROOF of Claim Form For Summary Execution Vietims by ANisha Tumampal by Bukak
Tumampal
7893 | PROOF of Claim Form For Summary Execution Victims by Jerry Montero by Violeta
i Montero
/7894 | PROOF of Claim Form For Sumiary Execution Victims by Diosdado Isidro by Apolinaria
: D. Isidro
| 7895 PROOF of Claim Form For Summary Execution Victims by Vicente Arances by Gertrudes
Arances
| 7896 PROOF of Claim Form For Summary Execution Victims by Rodolfo Golez by Zenaida Gold
| 7897 PROOF of Claim Form For Summary Execution Victims by Apolonio G. Vidal by Aida P.
Vidal
17898 PROOF of Claim Form For Summary Execution Victims by Sulpicio Laurente by Safia
Laurente
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DATE NR PROCEEDINGS
/ 4999 ~ ~
|; May 13 | 7899 > PROOF of Claim Form For Summary Execution Victims by Guiadil Ulama, Sama Unsa
: i and Teng Ulama by Noraisa T. Ulama
| 79001 PROOF of Claim Form For Summary Execution Victims by Guiomia Ismael by Ismael
| Abdulkarim .
7901) PROOF of Claim Form For Summary Execution Victims by Dres Melo and Kamid Melo
i by Abe Melo
: 7902) PROOF of Claim Form For Summary Execution Victims by Melchor G. Tabino by Salome
: | Arte
| [ 7903] PROOF of Claim Form For Summary Execution Victims by Elpedio Esteban by Maria A,
| | Esteban |
i | 7904) PROOF ef Claim Form For Summary Execution Victims by Rodolfo Mahinay by Felicidad
: Mahinay
| . #905) PROOF of Claim Form For Summary Execution Victims by Dafuali Antao by Ting Antao |
i | 7906) PROOF of Claim Form For Summary Execution Victims by Pepito Ramirez by Virginia !
i : Ramirez
; 7907: PROOF of Claim Form For Summary Execution Victims by Alma L. Villalon i
7908 PROOF of Claim Form For Summary Execution Victims by Mayato Anca by Berol Mayato |
7999 | PROOF of Claim Form For Summary Execution Victims by Pedsimayo Kudarat by Gediem
j Demalen
i 791G | PROOF of Claim Form For Summary Execution Victims by Camim Ibrahim, Mama Ibrahim
i : and Oker Taogi by Amad Taogi |
i 7911] PROOF of Ciaim Form For Summary Execution Victims by Menang Hadii Usman by Aisa
| ! Hadji Usman
7912 PROOF of Claim Form For Summary Execution Victims by Koso Mangolemat by Abdul
: Gapon Ginggona
7913] PROOF of Claim Form For Summary Execution Victims by Muhidin Taha
| 7914; PROOF of Claim Form For Summary Execution Victims by Kalli Sanip
l 7915] PROGF of Claim Form For Summary Execution Victims by Dalungan Kasim by Sulaiman |
| T. Kasim |
| 7916! PROOF of Claim Form For Summary Execution Victims by Subaida Balabadan, Kongon |
| | Balabadan and Maliga Balabadan by Kamasa Balabadan i
| 791? PROOF of Claim Form For Summary Execution Victims by Kucin Salgan by Mangalaga
i : Salgan
7918. PROOF of Claim Porm For Summary Execution Victims by Timpolek Ali by Bai Tabai
i Benito
| 7919) PROOF of Claim Form For Summary Execution Victims by Ingona Kasan by Uting D.
j ' Kagan
| 7920) PROOF of Claim Form For Summary Execution Victims by Nasa Bangon by Zainudun
| 3angon
| 7921] PROOF of Claim Form For Summary Execution Victims by Tangkil Kudarat and Linandintg
Kudarat by Gedtem Demalen
| 7922] PROOF of Claim Form For Summary Execution Victims by Guiabil Hadji Mahammad by
| Hadja Bambay Hadji Mahammad
; 7923| PROOF of Claim Form For Summary Execution Victims by Aida Pangawilan
; 7924 PROOF of Claim Form For Summary Execution Victims by Sakina Kusain and Edzel
' Balat by Zacaria Mangulamas
| PROOF of Claim Form For Summary Execution Victims by Ramabi Ampatuan
| 7926) PROOF of Claim Form For Summary Execution Victims by Daliya K. Buayan
7927) PROOF of Claim Form For Summary Execution Victims by Abdulsalam Maludtem
7928! PROOF of Claim Form For Summary Execution Victims by Teresita Beluestre by Eleondgr

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T1999
May 13 7929 | PROOF of Claim Form For Summary Execution Victims by Maricor Belvestre by Eleonor
: Belvestre
7930 PROOF of Claim Form For Summary Execution Victims by Evaristo A. Insa by Demende
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7931 PROOF of Claim Form For Summary Execution Victims by Ebrahim Abdulkalim
7932 , PROGF of Claim Form For Summary Execution Victims by Vicente Belvestre by Eleonor
: B. Baniel
7933 PROOF of Claim Form For Summary Execution Victims by Malutabai Kadil by Kalantung
Kadil
7934 : PROOF of Claim Form For Summary Execution Victims by Intan Abad, Rober Ibad, Sarah
: ibad and Memogkat Abad by Salem Ibad
7935 PROOF of Claim Form For Summary Execution Victims by Hadji Ebrahim Malao by
Sumangca Mangrag
7936 PROOF of Claim Form For Summary Execution Victims by Kamad Esmail by Esmail
Sambay
7937 | PROOF of Claim Form For Summary Execution Victims by Magandingan Uday by Ibrahim
Magandingan
7938 PROOF of Claim Form For Summary Execution Victims by Marciano Tiangha Araneta by
Edna Araneta
_ 7939 PROOF of Claim Form For Summary Execution Victims by Florencito Belvestre and
Antonio Belvestre by Eleonor B. Baniel
| 7940 PROOF of Claim Form For Summary Execution Victims by Soledad Genavia Gallarosa
| 7941 | PROOF of Claim Form For Summary Execution Victims by Hadji Mangrag Abas by
: Sumangea Mangrag
7942 | PROOF of Claim Form For Summary Execution Victims by Kanakan Lampak by Abdulgani
: Lampak
: 7943 PROOF of Claim Form For Summary Execution Victims by Jaime Belvestre by Eleonor
i B. Baniel
(7944 PROOF of Claim Form For Summary Execution Victims by Galo M. Ela by Sandy C. Ela
7945 | PROOF of Claim Form For Summary Execution Victims by Rogelio Elardo-Encio by
Marquita Elardo-Encio
7946 | PROOF of Claim Form For Summary Execution Victims by Juan Pacardo by Jelly
Pacardo €
7947 PROOF of Claim Form For Summary Execution Victims by H. Bulit Agang by Sumangca
Mangrag
7948 | PROOF of Claim Form For Summary Execution Victims by Felix J. Gabani, Sr. by
Rosita L. Gabani
7949 | PROOF of Claim Form For Summary Execution Victims by Norberto Diatening by Jimmy
Diatening
7950 | PROOF of Claim Form For Summary Execution Victims by Roman Cagoco by Elizabeth C.
Cagoco
7951 PROOF of Claim Form For Summary Execution Victims by Kalbal Mokamad by Mohamad
Guiapal
7952 | PROOF of Claim Form For Summary Execution Victims by Munib P, Ladtudan by Monera
P. Ladtudan
7933 | PROOF of Claim Form For Summary Execution Victims by Ladtudan Pedcaulan by Monera
P. Padtudan
7954 | PROOF of Claim Form For Summary Execution Victims by Musa Tailan by Mustapha
Tailan
7955 | PROOF of Claim Form For Summary Execution Victims by Edmundo Ugahayon Manunag by
Salvador U. Manunag
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May 13 7956; PROOF of Claim Form For Summary Execution Victims by Jose Sinsay by Lilia Sinsay
7957) PROOF of Claim Form For Summary Execution Victims by Kamad K. Benito by Mario L.
Benits

7958 | PROOF of Claim Form For Summary Execution Victims by Engkey Gasi by Zenaida Gasi
7959) PROOF of Claim Form For Summary Execution Victims by Joel L. Narbay by Anita N.

Abracia
7960) PROOF of Claim Form For Torture, Summary Execution and Disappearance Vietims by
©} Nelson De Guzman Bagamasbad
7961; PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by

Antonio B. Samson
7962! PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by

Nelson De Guzman Bagamasbao
7963 PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by

Sixto S. Carlos, Jr.
7964 PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by

Magsaysay Dasawilan by Pasawilan Takilid

i? 7965} PROOF of Claim Form For Torture Victims by Vicente T. Tan
7966 PROOF of Claim Form For Torture Victims by Ismael V. Erro
7967 | PROOF of Claim Form For Torture Victims by Lorenzo S. Corazon, Jr.
7968 ; PROOF of Claim Form For Torture Victims by Ramon J. Aldea
7969 | PROOF of Claim Form For Torture Victims by Federico B. Cleto

7970) PROOF of Claim Form For Torture Victims by Frederick C. Tan
7974) PROOF of Claim Form For Torture Victims by Helen C. Tan
7972) PROOF of Claim Form For Torture Victims by Manuel C. Relorcasa
7973, PROOF of Claim Form For Torture Victims by Danilo A. Mendoza
7974 1 PROOF of Claim Form For Torture Victims by Lillian Quimpo Walsh
7975, PROOF of Claim Form For Torture Victims by Victerio B. Garais
7976 | PROOF of Claim Form For Torture Victims by Rosalito M. Loferte
7977) PROOF of Claim Form For Torture Victims by Crispin De la Fuente
7978) PROOF of Claim Form For Torture Victims by Albaro M. Urbina

7979) PROOF of Claim Form For Torture Victims by Nasrollah Pendatun Mama
@ 7980} PROOF of Claim Form For Torture Victims by Porferio Gayas, Beceased by Helen
Gayas Farinas
7981 | PROOF of Claim Form For Torture Victims by Paterno E. Pama
7982; PROOF of Claim Form For Torture Victims by Adorice Magario
7983 | PROOF of Claim Form Fer Torture Victims by Amancio G. Palaje
7984 PROOF of Claim Form For Torture Victims by Santiago G. Galarosa
7985} PROOF of Claim Form For Torture Victims by Rogilio Fuensalida
7986 | PROOF of Claim Form For Torture Victims by Reynaldo Abutan Pureza, Deceased by
4na Carina Pureza~Miraflores
7987 | PROOF of Claim Form For Torture Victims by Leonara L. Obor
7988; PROOF of Claim Form For Torture Victims by Babay M. Miah
7989; PROOF of Claim Form For Torture Victims by Lucy Siares Edquila
7990 | PROOF of Claim Form For Torture Victims by Rodrigo C. Susaya
7991 | PROOF of Claim Form For Torture Victims by Edezer M. Delos Trinos
7992 PROOF of Claim Form Fer Torture Victims by Ernesto M. Luneta
7993) PROOF of Claim Form For Torture Victims by Ofelia A. Be Leon
7994; PROOF of Claim Form For Torture Victims by Danilo C. Valderama
7995 PROOF of Claim Form For Torture Victims by Julio R. Calubid
7996 | PROOF of Claim Form For Torture Victims by Jacinto B. Calubid

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May 17 7997 PROOF of Claim Form For Torture Victims by Rosario N. Cabardo

7998 PROOF of Claim Form For Torture Victims by Michael N. Cabardo

7999 ) PROOF of Claim Form For Torture Victims by Amado T. Llego

' 8000 | PROOF of Claim Form For Torture Victims by Renei R. Balansag

' 8001 | PROOF of Claim Form For Torture Victims by Ernesto L. Encinas

'8002 PROOF of Claim Form For Torture Victims by Manuel Estonante

8003 PROOF of Claim Form For Torture Victims by Fortunatu Bataller

8004 . PROOF of Claim Form For Torture Victims by Rowan Garais

8005 | PROOF of Claim Form For Torture Victims by Motin Edzla

8006 | PROOF of Claim Form For Torture Victims by Siti Mamdla

8007 ‘PROOF of Claim Form For Torture Victims by Rodrigo Manzano

8008 : PROOF of Claim Form For Torture Victims by Baidido Sultan

8009 PROOF of Claim Form For Torture Victims by Helen C. Tan

8010 PROOF of Claim Form For Torture Victims by Vicente T. Tan

8011 : PROOF of Claim Form For Torture Victims by Marcosa M. Ysais

8012 | PROOF of Claim Form For Torture Victims by Santiago M. Mercado

8013 PROOF of Claim Form For Torture Victims by Milleth Anino

8014 — PROOF of Claim Form For Torture Victims by Aida Entico-Mendivil
8015 PROOF of Claim Form For Torture Victims by Consolacion Enano
8016 PROOF of Claim Form For Torture Victims by Hilda Relame Lagata, Deceased by
Muriel R. Lagata
8017 | PROOF of Claim Form For Torture Victims by Edwin M. Parinas
8018 | PROOF of Claim Form For Torture Victims by Teresita Areilla Juvullar
8019 | PROOF of Claim Form For Torture Victims by Robert Dulnuan, Deceased by Felipina
P. Dulnuan
8020 | PROOF of Claim Form For Torture Victims by Federico P. Ricarze
8021 PROOF of Claim Form For Torture Victims by Ramon Buiza y Estopa, Deceased by
Visitacion E. Buiza
8022 _ PROOF of Claim Form For Torture Victims by Jose 0. Ocfemia
/8023 | PROOF of Claim Form For Torture Victims by Felipe T. Buyco
(8024 | PROOF of Claim Form For Torture Victims by Delfin Balce~Elma 6

8025 | PROOF of Glaim Form For Torture Victims by Juanito Bajar Vasquez

8026 | PROOF of Claim Form For Torture Victims by Romeo F. Oropesa

8027 | PROOF of Claim Form For Torture Victims by Felipe Juan J. Imperial

8028 | PROOF of Claim Form For Torture Victims by Benjamin E. Estolonio

8029 | PROOF of Claim Form For Torture Victims by Victorio C. Espina, Deceased by Robert
A. Espina

8030 | PROOF of Claim Form For Torture Victims by Mutin Talip

8031 PROOF of Claim Form For Torture Victims by Maitula Norodin

8032 _ PROOF of Claim Form For Torture Victims by Mohammad Taib, Deceased by Ebrahim
Taim

8033 | PROOF of Claim Form For Torture Victims by Picot Anas

8034 | PROOF of Claim Form For Torture Victims by Salvador Bermegio

8035 | PROOF of Claim Form For Torture Victims by Rolando Marinez de Jesus

8036 , PROOF of Claim Form For Torture Victims by Ruth Santos-Cruz

8037 | PROOF of Claim Form For Torture Victims by Alberto Nidua

8038 | PROOF of Claim Form For Torture Victims by Agustin G. Gutlay

8039 | PROOF of Claim Form For Torture Victims by Fedrito Guban

8040 | PROOF of Claim Form For Torture Victims by Rufo Glomar

8041 | PROOF of Claim Form For Torture Victims by Vicente Mangampo, Deceased by Rosita
M. Marane

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May 1? [8042 PROOF of Claim Form For Torture Victims by Lionardo Arispe, Deceased by Caredad

M. Arispe
8042 PROOF of Claim Form For Torture Victims by Maximo Abril
8044 [PROOF of Claim Form For Torture Victims by Marcial G. Gealone
8645 IPROOF of Claim Form For Torture Victims by Juan Remaldura
8046 [PROOF of Claim Form For Torture Victims by Rolando Espartinez
8047 |PROOF of Claim Form For Torture Victims by Juan Adamos
e@ 6048 PROOF of Claim Form For Torture Victims by Fortunato A. Espantinez, Jr.
8049 (PROOF of Claim Form For Torture Victims by Agustin O. Villaruel
8050 |PROOF of Claim Form For Torture Victims by Simplicio Lauvinia
8051 PROOF of Claim Form For Torture Victims by Alojeo Rafael
8052 PROOF of Claim Form For Torture Victims by Josefina Karagdag Wright
8053 |PROOF of Claim Form For Torture Victims by Emeliano Manigo
8054 (PROOF of Claim Form For Torture Victims by Anuario Adamos
8055 PROOF of Claim Form For Torture Victims by Perla Judith Somonod Daumar
8056 |PROOF of Claim Form For Torture Victims by Francisco 5. Calag
8057 | PROOF of Claim Form For Torture Victims by Zwingli FP. Montenegro
8058 (PROOF of Claim Form For Torture Victims by Antonio A. Arandia, Deceased by
Adelaida G. Arandia
8059 PROOF of Claim Form For Torture Victims by Calixtro R. Rojo
8060 |PROOF of Claim Form For Torture Victims by Frederick C. Tan
8061 PROOF of Claim Form For Torture Victims by Maliga Maralay
8062 (PROOF of Claim Form For Torture Victims by Zubaida Abid
8063 [PROOF of Claim Form For Torture Victims by Matin Pusdan
8064 (PROOF of Claim Form For Torture Victims by Crispina A. Espina, Deceased by Roberta
A. Espine
8065 (PROOF of Claim Form For Torture Victims by Victor L. Ulanday
8066 (|PROOF of Claim Form For Torture Victims by Usop Musa
8067 |PROOF of Claim Form For Torture Victims by Padian Magial
8068 [PROOF of Claim Form For Torture Victims by Notin Mantik
8069 {PROOF of Claim Form For Torture Victims by Midtimbang Sailila
8070 (PROOF of Claim Form Fer Terture Victims by Esmael A. Nawal
© 8071 [PROOF of Claim Form For Torture Victims by Ebrahim Bangon H. Hasan, Deceased
by Sadia Hadji Hasan
8072 |PROOF of Claim Form For Torture Victims by Ramon C. Casiple
8073 (PROOF of Claim Form For Torture Victims by Rodolfo C. Ladiao, Sr.
8074 -PROOF of Claim Form For Torture Victims by Oscar Cabrillos
8075 (|PROOF of Claim Form For Torture Victims by Saguia Talipasan
8076 |PROOF of Claim Form Fer Torture Victims by Annabelle Soto-Reyes
8077 (PROOF of Claim Form For Torture Victims by Miguel Lorejo
8078 |PROOF of Claim Form For Torture Victims by Reta E. Ruedas-Parreno
8079 |PROOF of Claim Form For Torture Victims by Atong Manto
8080 [PROOF of Claim Form For Torture Victims by Usep Kabugatan, Deceased by Akil

Kabugatan
8081 (PROOF of Claim Form For Torture Victims by David Sabaduquia Borja, Deceased by

Anita Matados Borja
8082 [PROOF of Claim Form For Torture Victims by Aurelio Amesola, Deceased by Felicitas

Cc. Amesola
8083 |PROOF of Claim Form For Torture Victims by Bonifacio L. Areola, Deceased by Conch]

A. Areola

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